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November 27, 2020

The Honorable Judge N. Reid Neuteiter
U.S. Magistrate Judge

Rogers U.S. Courthouse

Denver, Colorado

Dear Judge Neureiter,

I am pleased to have the opportunity to share my support of your consideration of the caring,
respectful, and sincere character of Andres Cuetara as well as what I know about the unique nature
of the challenges over which he has prevailed.

Born to my late father’s distant relatives, Carmen and Alberto Cuetara, in Mexico City in the 1970’s,
Andres was immediately diagnosed as profoundly deaf and, in the next months, doctors discovered
that he was completely mute as well. As you may know, at that time in Mexico such handicapped
infants were considered uneducable and were often discarded by the State or warehoused in their
workhouse facilities. Devastated, and in spite of the severe social stigma they faced, Andres’
working class family proudly raised their son in a deeply religious context; as he grew, his mother
developed a personal sign-like communication system with her young son with which she taught
him basic atithmetic and to read and write basic Spanish phrases in his otherwise language-less
world.

I first met Andres in the late fall of 1994 when Sister Molly Munoz introduced us following a
presentation of a renowned deaf performance artist whose concett I had hosted as the Artistic
Director of the School of the Arts at UCD. Sister Molly had recognized my name on the posters
and program and had rightly assumed that Andtes and I must be related — the “Cuetata” surname
is widely recognized in Spain — but is much less so in the new world. Having met Andres on an
international medical mission, Denver-based Sister Molly Munoz had been shocked by his limited
chances to thrive publicly in Mexico and decided to arrange for him to come to Colorado and to
enroll as a student at the community college on the Auraria campus. As she briefly explained his
background, Andres and I shook hands and shared contact information on my notepad. The family
resemblance was inescapable.

From that point until this November, Andres has been an integral part of our Thanksgiving dinners,
Christmas holiday events and all of our family celebrations at our Washington Park home in
Denver. Our family (including the extended family of my husband, Michael Millet) had been
beautifully enhanced by the addition of this sensitive and thoughtful older “cousin” of my four
sons. Hach year when we exchanged presents, Andres was delighted to don his sweater which
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matched those of his new American “brothers” and to proudly pose with them for our annual
holiday photo.

A faculty member at UCD on the Auraria campus, I was able to track Andtes informally as he
progressed through CCD and MSCD through his many creative projects in film and photography
and by our shared routine class visits. His instructots were pleased with his work — and his ADA
interpreters maintained close personal ties with him throughout his tenure at the Auraria Campus.
We worked together throughout those years to try to find strategies to close the gap between his
physical disabilities and the challenge of utilizing traditional ESL and ASL approaches to a young
man who “had no language.” ‘These professionals also volunteered to consult with his mothet,
Carmen, when she was able to travel to Denver every other year - in efforts to assist Andres. Such
was their genuine commitment to Andres’ gentle soul and a credit to this industrious young man.

On the occasions of his parents’ visits to Denver, Andtes and his devoted house mates, Dave and
Ken, hosted all of us for family dinners at their home. We were treated to Carmen’s elegant
Mexican cooking and evenings of laughter and joy with these young men (and Sister Molly) whose
friendship and support completed the sustaining energy of Andres’ astonishing new world in
Denver. We left these dinners feeling gratified and with pride for the strength and richness of the
constellation of powerful relationships Andres had created from the isolation of his silent world.

As a student on the campus, Andres earned a highly sought after job in the textbook office at the
Auraria Bookstore. His work there clearly enabled him to transcend any barriers of speech ot
hearing and his positive attitude, generosity of spirit, loyalty, and non-stop work ethic earned him
excellent reviews professionally and the exuberant praise of his coworkers on all levels. I had
frequent contact with his supervisors and colleagues and, in fact, when I conducted business there
each semestet, had to leatn to deflect their general thanks for “bringing us Andtes!” and specific
ptaises about Andres’ contributions to the entire operation. It was no surprise, therefore, that his
subsequent and current employer of some sixteen years, Jesse Nunoz of QED, has been in direct
contact with me to offer his to help Andres “in any way” to ensure that his “most reliable employee
ever can return to his full time job as soon as possible.”

Andres’ clear impact on his family, friends, and employment community continues to be profound.
His silent and understated gifts to all those around him have created a foundation of appreciation
and understanding for all those whom his life has touched. He has become an important citizen in
the lives of those he are lucky to know him and we will stand beside him to celebrate his past
contributions to our lives and to help him guarantee his future success. I would be proud to serve
him and the court in any way that I can.

Please do not hesitate to contact me at 720-560-1547 or by mail to Laura Cuetara, 1531 South
Washington Street, Denver, Co 80210, or by email at Icuetara52@gmail.com if I can be of further

assistance.

Sincerely,

Lauta Cuetara, Professor Emerita
Department of ‘Theater, Film and Video Production
University of Colorado at Denver
